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                  EXHIBIT 3
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9    UNITED STATES OF AMERICA
10
                             UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                No. CR 2:24-cr-00091-ODW
13
                Plaintiff,                    GOVERNMENT’S APPLICATION FOR
14                                            REVIEW OF MAGISTRATE JUDGE’S BAIL
                      v.                      ORDER; MEMORANDUM OF POINTS AND
15                                            AUTHORITIES; EXHIBITS
     ALEXANDER SMIRNOV,
16
                Defendant.
17

18

19
           Plaintiff United States of America, by and through its counsel
20
     of record, the Office of Special Counsel David C. Weiss, hereby
21
     applies to Honorable Judge Otis D. Wright for review of the February
22
     20, 2024, order of bail release upon conditions issued by the
23
     Honorable Magistrate Judge Daniel J. Albregts, of the United States
24
     District Court for the District of Nevada.          The government moved
25
     Magistrate Judge Albregts to stay his order, which he denied.
26
     //
27

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1          The government continues to seek detention. In support of its

2    continued request for detention, the government proffers (1) the

3    contents of the Pre-Trial Services Report but not its conclusion; (2)

4    the indictment, charging defendant with making a false statement to

5    law enforcement, in violation of 18 U.S.C. § 1001 and causing the

6    creation of a false and fictitious record in a federal investigation,

7    in violation of 18 U.S.C. § 1519; (3) the attached memorandum of

8    points and authorities; (4) the exhibits to that memorandum of points

9    and authorities; and (5) such further argument or evidence as may be
10   requested by the Court at the hearing on this matter.
11

12
      Dated: February 21, 2024
13
                                        Respectfully submitted,
14
                                        DAVID C. WEISS
15                                      Special Counsel

16

17
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23                                      United States Department of Justice

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1                          MEMORANDUM OF POINTS AND AUTHORITIES

2                                    I.   INTRODUCTION
3           No condition or combination of conditions will reasonably assure
4    the appearance of the defendant Alexander Smirnov as required.                  See
5    18 U.S.C. § 3142 (e)(1); see also United States v. Hir, 517 F.3d 1081,
6    1086 (9th Cir. 2008). As discussed in more detail below, the nature
7    and circumstances of the offense, weight of the evidence, and the fact
8    that Smirnov’s ties to the community are weak establish that Smirnov
9    should be detained.        But, in addition, there are four indisputable
10   facts related to the characteristics of Smirnov that compel detention.
11          First,   he    claims   to    have   contacts     with   multiple   foreign
12   intelligence agencies and had plans to leave the United States two
13   days after he was arrested last week for a months-long, multi-country
14   foreign trip.        During this trip, the defendant claimed to be meeting
15   with    foreign      intelligence    contacts.   Those     foreign   intelligence
16   agencies could resettle Smirnov outside the United States if he were
17   released.
18          Second, he has access to over $6 million in liquid funds—more
19   than enough money for him to live comfortably overseas for the rest
20   of his life.
21          Third, Smirnov did not disclose to Pretrial Services his access
22   to these funds.       He told Pretrial Services he only had $1,500 in cash-
23   on-hand and $5,000 in a personal checking account.              See Exhibit 11 at
24   page 2.     As the attached bank statements make clear, as of the end-
25   of-December, Smirnov has access to more than $2.9 million, see Exhibit
26   4 (under seal) and his wife/girlfriend (he refers to her both ways)
27   (hereafter “DL”) has access to more than $3.8 million, see Exhibit 7
28   (under seal).        The latter’s funds are available to him because most
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1    of the money in DL’s account originated with Smirnov and she pays his

2    personal expenses out of her account; in other words, these appear to

3    be shared funds or funds controlled by Smirnov, regardless of whose

4    name is on the bank account.      The fact that Smirnov misrepresented his

5    assets alone should cause Smirnov to be detained because it shows

6    that, at the first opportunity, he did not provide true and complete

7    information to Pretrial Services.

8          Fourth, as an Israeli citizen, Smirnov can obtain a new passport

9    at any time by visiting an Israeli consulate.             The closest Israeli
10   consulate is approximately 5 hours away in Los Angeles, California.
11   Thus, even if he turns in his U.S. and Israeli passports, Pretrial
12   Services has no way to prevent him from obtaining a new Israeli
13   passport and leaving the United States using it at any time.
14                II.    STATEMENT OF FACTS AND PROCEDURAL HISTORY
15         Smirnov was a confidential human source (“CHS”) with the Federal
16
     Bureau of Investigation (“FBI”).        Indictment ¶ 2.      As a CHS, Smirnov
17
     was assigned a handling agent (hereafter “the Handler”) who was a
18
     special agent on an FBI squad that investigated violations of federal
19
     criminal law.      Id.
20

21         Despite repeated admonishments that he must provide truthful

22   information to the FBI and that he must not fabricate evidence, Smirnov

23   provided false derogatory information to the FBI about Public Official
24   1, an elected official in the Obama-Biden Administration who left
25
     office in January 2017, and Businessperson 1, the son of Public
26
     Official 1, in 2020, after Public Official 1 became a candidate for
27
     President of the United States of America.          Id. at ¶ 6.
28

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1          In March 2017, Smirnov reported to the Handler that he had had a
2    phone call with the owner of Ukrainian industrial conglomerate Burisma
3
     Holdings,     Limited    (hereafter     “Burisma       Official   1”)   concerning
4
     Burisma’s interest in acquiring a U.S. company and making an initial
5
     public offering (“IPO”) on a U.S.-based stock exchange. Id. at ¶ 6(a).
6
     In reporting that conversation to the Handler, Smirnov also noted that
7

8    Businessperson 1, Public Official 1’s son, was a member of Burisma’s

9    Board, a fact that was publicly known.           Id.

10         Three years later, in June 2020, Smirnov reported, for the first
11   time,   two   meetings   in    2015   and/or   2016,     during   the   Obama-Biden
12
     Administration,     in   which   he    claimed   executives       associated   with
13
     Burisma, including Burisma Official 1, admitted to him that they hired
14
     Businessperson 1 to “protect us, through his dad, from all kinds of
15
     problems,” and later that they had specifically paid $5 million each
16

17   to Public Official 1 and Businessperson 1, when Public Official 1 was

18   still in office, so that “[Businessperson 1] will take care of all

19   those issues through his dad,” referring to a criminal investigation
20
     being conducted by the then-Ukrainian Prosecutor General into Burisma
21
     and to “deal with [the then-Ukrainian Prosecutor General].”                 Id. at
22
     ¶ 6(b).
23
           Smirnov also reported two purported phone calls between himself
24

25   and Burisma Official 1 wherein Burisma Official 1 stated that he had

26   been forced to pay Public Official 1 and Businessperson 1 and that it

27   would take investigators 10 years to find records of illicit payments
28   to Public Official 1.         Id. at ¶ 6(c).
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1          The events Smirnov first reported to the Handler in June 2020
2    were fabrications.      Id. at ¶ 6(d).      In truth and fact, Smirnov had
3
     contact with executives from Burisma in 2017, after the end of the
4
     Obama-Biden Administration and after the then-Ukrainian Prosecutor
5
     General had been fired in February 2016, in other words, when Public
6
     Official 1 had no ability to influence U.S. policy and when the
7

8    Prosecutor General was no longer in office.           Id.   In short, Smirnov

9    transformed his routine and unextraordinary business contacts with

10   Burisma in 2017 and later into bribery allegations against Public
11   Official 1, the presumptive nominee of one of the two major political
12
     parties for President, after expressing bias against Public Official
13
     1 and his candidacy.      Id.
14
           When he was interviewed by FBI agents in September 2023, Smirnov
15
     repeated some of his false claims, changed his story as to other of
16

17   his claims, and promoted a new false narrative after he said he met

18   with Russian officials.      Id. at ¶ 6(e).

19         On February 14, 2024, a federal grand jury in the Central District
20
     of California returned a two-count indictment charging Smirnov with
21
     one count of making false statements to federal law enforcement, in
22
     violation of 18 U.S.C. § 1001 (Count One) and; one count of fabricating
23
     information in a federal investigation, in violation of 18 U.S.C.
24

25   § 1519 (Count Two).     United States v. Smirnov, Cr. No. 2:24-cr-00091-

26   ODW (C.D. Cal. Feb. 14, 2024, ECF 1).

27         That same day, Smirnov was arrested in the District of Nevada as
28   he returned to the United States on an international flight.             Smirnov
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1    was scheduled to leave the United States two days later, on February
2    16, 2024, for a months-long, multi-country trip that, by his own
3
     description, involved meetings with officials of foreign intelligence
4
     agencies and governments.      During his custodial interview on February
5
     14,   Smirnov    admitted    that    officials    associated     with    Russian
6
     intelligence were involved in passing a story about Businessperson 1.
7

8          On February 15, 2024, Smirnov had an initial appearance in the

9    District of Nevada.      At that time the government moved for detention

10   pursuant to 18 U.S.C. § 3142(f)(2)(a) and (b) on the basis that Smirnov
11   posed a serious risk of flight and a serious risk of obstruction of
12
     justice.   The Government requested a three (3) day continuance of the
13
     detention hearing, pursuant to 18 U.S.C. § 3142(f)(2).
14
           A detention hearing was held scheduled in his matter on
15
     February 20, 2024, before United States Magistrate Judge Daniel J.
16

17   Albregts of the United States District Court for the District of

18   Nevada.    At that hearing, United States Magistrate Judge Albregts

19   found the government had proven that the defendant posed a serious
20
     risk of flight by a preponderance of the evidence but that the
21
     government had not proven by a preponderance of the evidence that no
22
     condition or combination of conditions could reasonably assure his
23
     appearance.     United States Magistrate Judge Albregts ordered Smirnov
24

25   released on a personal recognizance bond and conditions.

26                                III.   APPLICABLE LAW

27   A. Standard of Review

28         A de novo standard of review, not a deferential standard, is

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1    applied to a district court’s review of a magistrate’s bail order.
2    United States v. Koenig, 912 F.2d 1190, 1192-93 (9th Cir. 1990).
3
     The court in Koenig made clear that the district court’s review is
4
     independent and that the district court may also hold an evidentiary
5
     hearing:
6
           [In reviewing a magistrate judge’s bail order, the
7          district court] should review the evidence before the
8          magistrate and make its own independent determination
           whether the magistrate’s findings are correct, with no
9          deference. If the performance of that function makes it
           necessary or desirable for the district judge to hold
10         additional evidentiary hearings, it may do so, and its
           power to do so is not limited to occasions when evidence
11         is offered that was not presented to the magistrate.
12
     Id. at 1193.
13
     B. The Bail Reform Act
14
           The Bail Reform Act of 1984 (“the Act”) permits pretrial
15
     detention of a defendant without bail where “no condition or
16
     combination of conditions will reasonably assure the appearance of
17

18   the person as required and the safety of any other person and the

19   community.” 18 U.S.C. § 3142(e). Detention is appropriate where a

20   defendant is either a danger to the community or a flight risk; it
21
     is not necessary to prove both. United States v. Motamedi, 767 F.2d
22
     1403, 1406 (9th Cir. 1985); United States v. Kouyoumdjian, 601 F.
23
     Supp. 1506, 1508-10 (C.D. Cal. 1985). A finding that a defendant
24
           Title 18, United States Code, Section 3142 (hereafter the “Bail
25

26   Reform Act”) specifically provides, in relevant part, that “the

27   judicial officer shall, in determining whether there are conditions

28

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1    of release that will reasonably assure the appearance of the person
2    as required” consider the following factors:
3
           (1) the nature and circumstances of the offense charged …;
4
           (2) the weight of the evidence against the person;
5
           (3) the history and characteristics of the person,
6          including—
7               (A) the person’s character, physical and mental
8          condition, family ties, employment, financial resources,
           length of residence in the community, community ties, past
9          conduct, history relating to drug or alcohol abuse,
           criminal history, and record concerning appearance at court
10         proceedings; …
11
     18 U.S.C. § 3142(g); United States v. Santos-Flores, 794 F.3d
12
     1088, 1091 (9th Cir. 2015).         A finding that that there are no
13

14   conditions that will reasonably assure a Smirnov’s appearance

15   need only be established by a preponderance of the evidence.

16   Santos-Flores, 794 F.3d at 1090; United States v. Gebro, 948
17   F.2d 1118, 1121 (9th Cir.1991); United States v. Motamedi, 767
18
     F.2d 1403, 1407 (9th Cir. 1985).          “More finely put, this means
19
     that the Government must demonstrate that it is more likely than
20
     not that there is a serious risk that the Smirnov will flee, not
21
     that that it is more likely than not that the Smirnov will flee.
22

23   United States v. Figueroa-Alvarez, No. 4:23-CR-00171-DCN, 2023

24   WL 4485312, at *5 (D. Idaho July 10, 2023); see United States v.

25   Duarte-Vela, No. 2:23-cr-00009-TOR-1, Amended Order Following
26   Status Hearing Regarding Detention and Detention Hearing at 7
27
     (Dkt. 32) (E.D. Wa. Jan. 25, 2023); Alvarenga-Canan, No. 1:23-
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1    cr-00042-BLW, Tr. at 7 (Dkt. 26) (“It's got to be 51 percent of
2    a serious risk.”).
3
     IV. THE DEFENDANT POSES A SERIOUS RISK OF FLIGHT AND THERE ARE NO
4
           CONDITIONS THAT CAN REASONABLY ASSURE HIS APPEARANCE
5

6          A.    Smirnov is charged with lying to law enforcement and
7                fabricating evidence.
8

9          The nature and circumstances of the offense make clear that there

10   are no conditions of release that will reasonably assure the appearance

11   of Smirnov.      Pretrial supervision is, at its core, based on trust.

12   Pretrial Services must trust a defendant to abide by the conditions

13   the court imposes and to accurately report information requested by

14   Pretrial Services as they attempt to police those conditions.                    The

15   circumstances of the offenses charged—that Smirnov lied to his FBI

16   Handler after a 10-year relationship where the two spoke nearly every

17   day—means    that    Smirnov   cannot    be   trusted   to   provide    truthful

18   information to Pretrial Services.        Critically, Smirnov lied to his FBI

19   Handler after repeated admonishments that the information he provided

20   to the FBI must be truthful.         And the false information he provided

21   was not trivial.      It targeted the presumptive nominee of one of the

22   two major political parties in the United States.               The effects of

23   Smirnov’s false statements and fabricated information continue to be

24   felt to this day.     Now the personal stakes for Smirnov are even higher.

25   His freedom is on the line.          If he could not be trusted to report

26   truthful information to his FBI Handler, he cannot be trusted to report

27   truthful information to Pretrial Services.

28

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1          B.      The weight of the evidence against Smirnov is strong.

2          As described in the indictment, the evidence against Smirnov is

3    strong.

4          In sum, Smirnov’s own travel records, emails and messages with

5    his Handler, along with emails and travel records of the individuals

6    who Smirnov claimed to have attended the two meetings with him, will

7    all be used as evidence against him.             Further, the individuals who

8    participated in these meetings and phone calls will refute that there

9    was ever any discussion of Public Official 1 or Businessperson 1 in
10   those meetings or any phone calls at all.
11         C.      The history and characteristics of Smirnov make clear that
12                 no conditions can reasonably assure his appearance.
13

14         Smirnov’s personal history and characteristics also weigh in favor

15   of detention. Smirnov has very weak ties to the community in Las Vegas.

16   He has only lived in Las Vegas since 2022.              Exhibit 11 at 1.          The

17   condominium where he lives is owned by DL, a fact about which he lied,

18   as will be addressed below.         Exhibit 1 (under seal).     He has no family

19   in Las Vegas.       To the contrary, he reports that his mother, father,

20   and sister all reside in Israel.           Id.   Smirnov lived in Israel from

21   1992 to 2006, longer than he has lived in the United States.                Id.   He

22   does not report any employment that is located in Las Vegas.                Instead,

23   he   claims    to   have   a   “security   business,”   that   is    registered   in

24   California, where he used to live.         See Exhibit 11 at 2.       DL, with whom

25   he lives, does not appear to even know what he does.                Id.   Nor do his

26   bank records reflect that he is in the “security business,” as he

27   claims.    Id.   Instead, the statements for the accounts he controls show

28   large wire transfers from what appear to be venture capital firms and

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1    individuals.       See Exhibit 4 (under seal).

2         1. Smirnov    claims    to   have   contact    with    foreign   intelligence
3           agencies.
4
            While Smirnov has no ties to the community in Las Vegas, what he
5
     does have is extensive foreign ties, including, most troublingly and
6
     by    his   own   account,   contact     with   foreign    intelligence   services,
7
     including Russian intelligence agencies, and has had such contacts
8
     recently.     Smirnov could use these contacts to resettle outside the
9
     United States.
10
            As noted, law enforcement knows about Smirnov’s contact with
11
     officials affiliated with Russian intelligence because Smirnov himself
12
     reported on a number of those contacts to his FBI Handler. As described
13
     below, these contacts are extensive and extremely recent, and Smirnov
14
     had the intention of meeting with one of these officials on his
15
     upcoming planned overseas travel.
16
            Of particular note, Smirnov has reported numerous contacts with
17
     Russian Official 1, who has been described by Smirnov in a number of
18
     ways, including as the son of a former high-ranking Russian
19
     government official, someone who purportedly controls two groups of
20
     individuals tasked with carrying out assassination efforts in a
21
     third-party country, a Russian representative to another country,
22
     and as someone with ties to a particular Russian intelligence
23
     service.     This latter fact was reported by Smirnov in October, 2023.
24
            In December 2023, Smirnov reported to his Handler about a recent
25
     overseas trip, where Smirnov attended a meeting with Russian Official
26
     2, who Smirnov has described as a high-ranking member of a specific
27
     Russian foreign intelligence service.               According to Smirnov, the
28
     purpose of the meeting was to discuss a potential resolution to
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1    Russia’s    war   against     Ukraine.      During    this    same     trip,    Smirnov

2    apparently attended a separate meeting with Russian Official 1, the

3    individual     who    controls    groups    that     are     engaged    in     overseas

4    assassination efforts.        During this meeting with Russian Official 1,

5    Russian Official 1 claimed that another individual, Russian Official

6    4, the head of a particular unit of a Russian Intelligence Service,

7    ran an intelligence operation at a “club” located at a particular

8    hotel. Smirnov told the FBI Handler that the Russian Intelligence

9    Service intercepted cell phone calls made by guests at the hotel. The
10   Russian    Intelligence      Service   intercepted    several      calls     placed   by
11   prominent U.S. persons the Russian government may use as “kompromat”
12   in the 2024 election, depending on who the candidates will be.                        As
13   described below, this story, which again was relayed by Smirnov to his
14   Handler in/about December, 2023, appears to mirror the story that
15   Smirnov was pushing on investigators and prosecutors during their
16   meeting    with   him   in    September,    2023     (in   which     Smirnov    pushed
17   investigators to look into whether Businessperson 1 had been recorded
18   in a foreign hotel).

19          Most recently, Smirnov has reported:

20      •   Meetings in or about December 2023, outside the United States,
21          between top officials of another country and Russian officials;
22
        •   Contact with a Russian official on November 27, 2023, where the
23
            Russian official provided Smirnov with information on his
24
            knowledge of certain Russian military operations in a third
25

26          country; and

27      •   Contact with a Russian intelligence service operative and top
28          Russian representative to a third country on November 8, 2023.
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1    Exhibit 2.

2          The following is a declassified summary of additional contacts

3    that predate the contacts referenced above and in Exhibit 2.                 This

4    summary was prepared by the FBI and taken from several reports he made

5    to the FBI:

6
        1. (U//FOUO) (Document 1)
7             a. (U//FOUO) In or about October 2023, SMIRNOV reported the
                 following:
8
                   i. (U//FOUO) SMIRNOV was invited to and planned to
9                      attend the birthday party of an identified
                       individual in the Middle East, COUNTRY A, which
10                     would include activities on a mega yacht owned by a
                       high-ranking member of Russia’s largest steel and
11                     mining company. SMIRNOV provided the names of
                       individuals who might attend the birthday
12                     activities, including RUSSIAN OFFICIAL 1, who he
13                     identified as the son of a high-ranking former
                       Russian government official, and RUSSIAN INDIVIDUAL
14                     1, a high-ranking member of a Russia state-owned
                       defense conglomerate.
15
        2. (U//FOUO) (Document 2)
16            a. (U//FOUO) In or about January 2023, SMIRNOV reported the
17               following:
                   i. (U//FOUO) In December 2022, SMIRNOV learned from a
18                     Russian Foreign Intelligence official the
                       whereabouts of a particular Russian Foreign
19                     Intelligence officer living outside of Russia.
                  ii. (U//FOUO) In or about January 2023, SMIRNOV spoke to
20                     another Russian Foreign Intelligence officer who
                       provided the first name of the Russian Foreign
21
                       Intelligence officer living outside of Russia.
22
        3. (U//FOUO) (Document 3)
23            a. (U//FOUO) On or about August 2023, SMIRNOV reported the
                 following:
24                 i. (U//FOUO) SMIRNOV had been introduced to RUSSIAN
                       INDIVIDUAL 2, a high-ranking member of a Russian
25
                       steel company. RUSSIAN INDIVIDUAL 2 was organizing
26                     a birthday party for another person on RUSSIAN
                       INDIVIDUAL 2’s mega yacht. RUSSIAN INDIVIDUAL 2
27                     mentioned that two of the oligarchs who would be
                       attending the party have “connections” or “business
28                     ties” to a high-ranking member of a Russian Foreign
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1                       Intelligence Service, RUSSIAN OFFICIAL 2. Because of
                        the language used by RUSSIAN INDIVIDUAL 2, SMIRNOV
2                       was not clear about the precise nature of the
                        relationship between the identified Russian
3
                        oligarchs and RUSSIAN OFFICIAL 2, a high-ranking
4                       member of a Russian Foreign Intelligence Service.

5       4. (U//FOUO) (Document 4)
              a. (U//FOUO) In or about October 2023, SMIRNOV reported the
6                following information (this information was provided to
                 supplement Document 1):
7                  i. (U//FOUO) The planned COUNTRY A birthday party may be
8                      attended by RUSSIAN OFFICIAL 1, the son of a former
                       high-ranking Russian government official. An
9                      associate of SMIRNOV provided SMIRNOV with a copy of
                       RUSSIAN OFFICIAL 1’s passport.
10
        5. (U//FOUO) (Document 5)
11            a. (U//FOUO) In or about November 2023, SMIRNOV reported the
12               following information:
                   i. (U//FOUO) SMIRNOV learned from RUSSIAN OFFICIAL 1
13                     himself, that RUSSIAN OFFICIAL 1 has direct access
                       to the highest levels of the Russian government.
14                     Although RUSSIAN OFFICIAL 1’s father was a former
                       high-ranking government official in Russia, RUSSIAN
15                     OFFICIAL 1’s access to the highest levels of the
                       Russian government is direct, and not through his
16
                       father.
17                ii. (U//FOUO) RUSSIAN OFFICIAL 1 is a top, unofficial
                       representative of Russia to COUNTRY B.
18               iii. (U//FOUO) SMIRNOV provided a photograph of RUSSIAN
                       OFFICIAL 1 taken in or about November 2023, during
19                     RUSSIAN OFFICIAL 1’s visit to COUNTRY A.
20
        6. (U//FOUO) (Document 6)
21            a. (U//FOUO) In or about November 2023, SMIRNOV reported the
                 following information:
22                 i. (U//FOUO) SMIRNOV learned from sources, including
                       RUSSIAN OFFICIAL 1, that a particular individual,
23                     RUSSIAN OFFICIAL 3, is the representative of the
                       former head of a particular unit of a Russian
24                     Intelligence Service, RUSSIAN OFFICIAL 4.
25                ii. (U//FOUO) SMIRNOV provided information about RUSSIAN
                       OFFICIAL 4’s chain of command. SMIRNOV named three
26                     individuals who have direct, immediate access to the
                       highest levels of the Russian government, including
27                     the father of RUSSIAN OFFICIAL 1.
28

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1

2       7. (U//FOUO) (Document 7)
              a. (U//FOUO) In or about December 2023, SMIRNOV reported the
3
                 following information (which is also reported in Document
4                6).
                   i. (U//FOUO) SMIRNOV learned from sources, including
5                      RUSSIAN OFFICIAL 1, that a particular individual,
                       RUSSIAN OFFICIAL 3, is the representative of the
6                      former head of a particular unit of a Russian
                       Intelligence Service, RUSSIAN OFFICIAL 4.
7

8       8. (U//FOUO) (Document 8)
              a. (U//FOUO) In or about November 2023, SMIRNOV reported the
9                following information:
                   i. (U//FOUO) In October 2023, SMIRNOV had in-person
10                     conversations with RUSSIAN OFFICIAL 1
                       overseas. During these conversations, RUSSIAN
11                     OFFICIAL 1 discussed his knowledge and seeming
12                     control of two groups of Russian operatives who were
                       previously tasked with the assassination of a high-
13                     ranking official of COUNTRY C. RUSSIAN OFFICIAL 1
                       offered to stop the assassination efforts in
14                     exchange for certain things, including an agreement
                       by COUNTRY C to stop targeting civilian-family-
15                     members of certain Russian officials living in
                       Moscow.
16
                  ii. (U//FOUO) RUSSIAN OFFICIAL 1 also provided SMIRNOV
17                     with specific information about Russia’s military
                       resources for a winter attack in COUNTRY C. RUSSIAN
18                     OFFICIAL 1 also told SMIRNOV about the Russian
                       government’s intentions for their war in Ukraine.
19
        9. (U//FOUO) (Document 9)
20
              a. (U//FOUO) In or about December 2023, SMIRNOV reported the
21               following information:
                   i. (U//FOUO) SMIRNOV attended a meeting in COUNTRY A in
22                     December 2023 that was attended by RUSSIAN OFFICIAL
                       2, a high-ranking member of a Russian Foreign
23                     Intelligence Service. The primary purpose of the
                       meeting was to discuss a potential resolution to the
24                     Russia-Ukraine war.
25                ii. (U//FOUO) On this same trip, SMIRNOV attended another
                       meeting with, among others, RUSSIAN OFFICIAL 1.
26               iii. (U//FOUO) Unrelated to the above, SMIRNOV had a
                       separate conversation with RUSSIAN OFFICIAL 1,
27                     wherein RUSSIAN OFFICIAL 1 claimed that RUSSIAN
                       OFFICIAL 4, the head of a particular unit of a
28                     Russian Intelligence Service, ran an intelligence
                                             14
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1                      operation at a “club” located on a particular floor
                       of HOTEL 1, which is in COUNTRY C. SMIRNOV stated
2                      the Russian Intelligence Service intercepted cell
                       phone calls made by guests at the hotel. The Russian
3
                       Intelligence Service intercepted several calls
4                      placed by prominent US persons the Russian
                       government may use as “kompromat” in the 2024
5                      election, depending on who the candidates will be.
                  iv. (U//FOUO) SMIRNOV later had a meeting with another
6                      COUNTRY C government official, who stated it was
                       common knowledge that the Russian Intelligence
7                      Service did, in fact, run such intelligence
8                      operations at HOTEL 1.

9       10.      (U//FOUO) (Document 10)
              a. (U//FOUO) In or about February 2022, SMIRNOV provided the
10               following information:
                   i. (U//FOUO) When SMIRNOV was working in COUNTRY D circa
11                     2002, he conducted a joint operation to recruit two
12                     individuals: 1) RUSSIAN OFFICIAL 5, Russian consular
                       to COUNTRY D, who was caught spying; and, 2) a
13                     COUNTRY E consular to COUNTRY D.
                  ii. (U//FOUO) SMIRNOV first met RUSSIAN OFFICIAL 5 at an
14                     event/party COUNTRY D put on for foreign officials.
                       Thereafter, SMIRNOV spent numerous months developing
15                     a “friendship” with RUSSIAN OFFICIAL 5. After some
                       time, SMIRNOV was asked by COUNTRY D to contact
16
                       RUSSIAN OFFICIAL 5 and tell them that COUNTRY D had
17                     info that RUSSIAN OFFICIAL 5 was spying. Rather than
                       arresting/PNGing RUSSIAN OFFICIAL 5, COUNTRY D told
18                     RUSSIAN OFFICIAL 5 had to leave within 48 hours or
                       there would be “adverse consequences”, but that
19                     RUSSIAN OFFICIAL 5 should keep in touch with COUNTRY
                       D and SMIRNOV. Thereafter, RUSSIAN OFFICIAL 5 would
20
                       occasionally provide SMIRNOV with information.
21                     RUSSIAN OFFICIAL 5 never provided information that
                       was “adverse” to Russia.
22               iii. (U//FOUO) Approximately three years before the time
                       of this reporting, possibly in 2019, SMIRNOV
23                     traveled to Russia and met with RUSSIAN OFFICIAL 5.
                       They had a very careful, coded conversation about
24                     what Russia might look like under different
25                     leadership. For background, SMIRNOV understood that
                       RUSSIAN OFFICIAL 5’s spouse is somehow related to
26                     RUSSIAN OFFICIAL 6, a former high-ranking member of
                       a Russian Intelligence Service. SMIRNOV has never
27                     met RUSSIAN OFFICIAL 6, however SMIRNOV once called
                       RUSSIAN OFFICIAL 5 who was in the car at the time
28

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1                        with RUSSIAN OFFICIAL 6, who spoke very briefly to
                         SMIRNOV over speaker phone.
2                 iv.   (U//FOUO) During a subsequent meeting two days later,
                         SMIRNOV and RUSSIAN OFFICIAL 5 spoke again about
3
                         matters pertaining to Russia. RUSSIAN OFFICIAL 5
4                        indicated that RUSSIAN OFFICIAL 6 was not happy with
                         Russian leadership, and that RUSSIAN OFFICIAL 6 was
5                        also close friends/associates with RUSSIAN OFFICIAL
                         2, a high-ranking member of a Russian Foreign
6                        Intelligence Service.
                   v.   (U//FOUO) First call with RUSSIAN OFFICIAL 2 (High-
7                        ranking member of a Russian Foreign Intelligence
8                        Service): Prior to a recent overseas trip, SMIRNOV
                         contacted RUSSIAN OFFICIAL 5 to see if he could
9                        arrange to have RUSSIAN OFFICIAL 2, speak to a high-
                         ranking official of COUNTRY C. SMIRNOV contacted
10                       RUSSIAN OFFICIAL 5 and provided him with a proposed
                         date and time for RUSSIAN OFFICIAL 2 to call.
11                       SMIRNOV obtained a “throw-phone” and foreign SIM
12                       card and provided RUSSIAN OFFICIAL 5 with the
                         number. SMIRNOV indicated that a call subsequently
13                       took place between RUSSIAN OFFICIAL 2 and a high-
                         ranking official COUNTRY C, the subject matter of
14                       which SMIRNOV was aware.
                  vi.   (U//FOUO) Second call with RUSSIAN OFFICIAL 2 (High-
15                       ranking member of a Russian Foreign Intelligence
                         Service): In January 2022, SMIRNOV had a second call
16
                         with RUSSIAN OFFICIAL 2 (SMIRNOV used a second throw
17                       phone). SMIRNOV asked RUSSIAN OFFICIAL 2 for a
                         “favor”—namely that Russian troops do not hurt
18                       SMIRNOV’s associate, an official of COUNTRY C.
                         RUSSIAN OFFICIAL 2 asked what SMIRNOV thought of
19                       SMIRNOV’s associate. SMIRNOV later reiterated his
                         “ask” that his associate not be harmed during any
20
                         Russian incursion. RUSSIAN OFFICIAL 2 said he was
21                       told by RUSSIAN OFFICIAL 5, who SMIRNOV “befriended”
                         years earlier after RUSSIAN OFFICIAL 5 was caught
22                       spying, that SMIRNOV was a “good guy,” and therefore
                         RUSSIAN OFFICIAL 2 would help to ensure SMIRNOV’s
23                       associate was not killed or harmed.
                 vii.   (U//FOUO) Third call with RUSSIAN OFFICIAL 2 (High-
24                       ranking member of a Russian Foreign Intelligence
25                       Service): After SMIRNOV returned from his overseas
                         trip, he again asked RUSSIAN OFFICIAL 5 to set up
26                       another call with RUSSIAN OFFICIAL 2. During the
                         call, SMIRNOV discussed the additional escalation of
27                       Russian troops along the Ukraine border and asked
                         RUSSIAN OFFICIAL 2 whether he could provide any
28                       details about Russia’s intentions. RUSSIAN OFFICIAL
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1                       2 stated he was 99% that only a skirmish would
                        occur.
2
        11.      (U//FOUO) (Document 11)
3
              a. (U//FOUO) In or about October 2023, SMIRNOV provided the
4                following information:
                   i. (U//FOUO) Photo of passport of RUSSIAN OFFICIAL 1.
5                 ii. (U//FOUO) In October 2023, SMIRNOV advised that
                       RUSSIAN OFFICIAL 1, the son of a high-ranking former
6                      Russian government official, was invited to attend a
                       birthday party in October 2023 in COUNTRY A, which
7                      will be held on RUSSIAN INDIVIDUAL 2's mega yacht.
8                      SMIRNOV received a copy of RUSSIAN OFFICIAL 1's
                       Russian passport.
9
           Smirnov’s anticipated travel from the United States, on Friday
10
     of last week, two days after his return, was for the purpose of meeting
11
     with Russian intelligence officials, among others.           Specifically:
12

13      12.      (U//FOUO) (Document 12)
              a. (U//FOUO) In or about January 2024, SMIRNOV provided the
14               following information. The information was recorded in an
15               FD-1040a, CHS travel/ET Activity Request Form.
                   i. SMIRNOV reported future travel and meeting
16                     itineraries to his FBI Handler, which outlined
                       travel to various countries in February 2024.
17                     SMIRNOV planned to meet with RUSSIAN OFFICIAL 1, an
                       operative of a Russian Intelligence Service. The
18                     primary purpose of the meeting with RUSSIAN OFFICIAL
19                     1 was to discuss the exchange of Russian and
                       Ukrainian military prisoners. The meeting was set to
20                     occur in COUNTRY A.

21
           Smirnov’s contacts with Russian officials who are affiliated with
22
     Russian intelligence services are not benign.          At his meeting with FBI
23
     investigators in September 2023, Smirnov pushed a new story about
24
     Public Official 1 and Businessperson 1, as described in the indictment.
25
     Indictment at ¶51.       Specifically, Smirnov wanted them to look into
26
     whether Businessperson 1 was recorded in a hotel in Kiev called the
27
     Premier Palace.       Id.    Smirnov told investigators that the entire
28
     Premier Palace Hotel is “wired” and under the control of the Russians.
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1    Id. Smirnov claimed that Businessperson 1 went to the hotel many times

2    and that he had seen video footage of Businessperson 1 entering the

3    Premier Palace Hotel. Id.           Investigators know that Smirnov’s new story

4    is false because Businessperson 1 has never travelled to Ukraine.                            Id.

5    at ¶ 54.

6          Smirnov       suggested       that     investigators           check     to     see     if

7    Businessperson 1 made telephone calls from the Premier Palace Hotel

8    since those calls would have been recorded by the Russians.                          Id. at ¶

9    52.   Smirnov claimed to have obtained this information a month earlier
10   by calling a high-level official in a foreign country.                         Id.    Smirnov
11   also claimed to have learned this information from four different
12   Russian officials.         Id.
13         Smirnov      told   investigators           that    the    four   different     Russian
14   officials are all top officials and two are the heads of the entities
15   they represent.         Id. at ¶ 53.       These Russians said that conversations
16   with Ukrainians about ending the war will include the next U.S.
17   election.        Smirnov told investigators he is involved in negotiations
18   over ending the war and had been for the previous four months.                               Id.

19   According     to    Smirnov,      the   Russians          want     Ukraine    to    assist    in

20   influencing       the   U.S.     election,    and        Smirnov    thinks    the    tapes    of

21   Businessperson 1 at the Premier Palace Hotel is all they have.                               Id.

22   Smirnov told investigators he wants them to ask Businessperson 1 how

23   many times he visited and what he did while at the Premier Palace

24   Hotel.     Id.

25         Thus,      Smirnov’s       efforts     to    spread        misinformation      about    a

26   candidate of one of the two major parties in the United States

27   continues.         The Court should consider this conduct as well when

28   evaluating his personal history and characteristics.                         What this shows

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1    is that the misinformation he is spreading is not confined to 2020.

2    He is actively peddling new lies that could impact U.S. elections

3    after meeting with Russian intelligence officials in November.                    In

4    light of that fact there is a serious risk he will flee in order to

5    avoid accountability for his actions.

6       2. Smirnov has access to millions of dollars that he did not
7          disclose to Pretrial Services.
8
           Smirnov has already demonstrated that he cannot be trusted to
9
     provide truthful information to Pretrial Services.                 When he       was
10
     interviewed, he told Pretrial Services that he only had access to
11
     $1,500 in cash and another $5,000 in a checking account.            See Exhibit
12
     11 at 2.
13
           That is not true.       Smirnov is the sole signatory on a Bank of
14
     America business checking account ending with 3928 in the name of
15
     Avalon Group Inc. (hereafter “BOA 3928”) Exhibit 3 (under seal).                  As
16
     of December 31, 2023, BOA 3928 had a balance of $2,917,496.61. Exhibit
17
     4 (under seal).      The fact that Smirnov lied to Pretrial Services in
18
     his very first interaction with them establishes conclusively that
19
     there are no conditions that could reasonably assure his appearance.
20
     That is because the effectiveness of any condition or combination
21
     relies on Pretrial Services ability to obtain truthful information
22
     from Smirnov.
23
           Smirnov uses BOA 3928 to fund his and DL’s lifestyle, although
24
     the transfers themselves look like payments from a business, “Avalon
25
     Group, Inc.” to DL.      From February 2020, when the account was opened,
26
     through December 31, 2022, Smirnov withdrew $1,737,500 to purchase
27
     cashier’s checks in the name of “Avalon Group Inc.” and payable to DL.
28
     Id.    Those cashier’s checks were then deposited in DL’s account, in
                                        19
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1    some cases within 30 minutes of Smirnov withdrawing the funds to

2    purchase the checks.        See Exhibit 10 (under seal).     DL deposited these

3    cashier’s checks into one of her accounts at a branch near where

4    Smirnov withdrew the funds.          Id.    For example, on October 13, 2020, a

5    withdrawal was conducted by Avalon Group Inc. in the amount of $599,000

6    from BOA 3928. Exhibit 5 (under seal).           The transaction was conducted

7    at a Bank of America branch located in San Juan Capistrano, California.

8    Id. A handwritten note on the withdrawal slip identified “CADL XXXX349

9    4/26/2022,” which was Smirnov’s California driver's license.                     Id.
10   Immediately following the withdrawal, Bank of America official check
11   1145711247 in the amount of $599,000 payable to DL was purchased using
12   the funds. Exhibit 6 (under seal).               On October 14, 2020, Bank of
13   America official check 1145711247 was deposited to DL's Wells Fargo
14   account ending 1356, for which she is the sole signer. Id.                       The
15   transaction was conducted at a Wells Fargo branch located in San Juan
16   Capistrano, California.        Id.    The withdrawal from BOA 3928 was funded
17   by   a    previous   wire   transfer   of    $600,000   received   from   Economic
18   Transformation Technologies Corporation on September 22, 2020.                   The

19   BOA 3928 account balance prior to receipt of the wire transfer was

20   approximately $31.

21            Smirnov also wired DL $785,000 in two payments, $740,000 at the

22   end of 2020 and another $45,000 at the end of 2022.            Exhibit 4 (under

23   seal).

24            As of February 1, 2024, DL had $3,827,460 in her Wells Fargo

25   account ending in 1356.        Exhibit 7 (under seal).

26            In 2022 and 2023, after Smirnov began making these substantial

27   transfers to DL, albeit using cashier’s checks that make it appear she

28   is receiving the funds from a business, “Avalon Group Inc.,” DL made

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1    payments to Smirnov’s Citi credit card, which is the primary means by

2    which   he   pays   personal   expenses.       See    Exhibit   10    (under     seal).

3    Specifically, in 2022, DL paid $108,916.52 towards Smirnov’s Citi

4    credit card debt and in 2023, she paid $275,869.44.                 Id.

5          Smirnov   told   Pretrial     Services   that    he    lives   with   DL    in   a

6    condominium she leases.        See Exhibit 11 at 1.         That is also not true.

7    The attached report shows she is in fact the owner, having purchased

8    it on February 28, 2022, for the sale price of $1,425,000.                See Exhibit

9    1 (under seal).      In February 2022, DL purchased a condominium in Las
10   Vegas where she and Smirnov reside.            Id.     While the condominium is
11   titled in her name, she purchased it after receiving more than $2.4
12   million from Smirnov.       See Exhibit 10 (under seal).
13         Smirnov also withdrew $174,219 in cash from the account, including
14   $60,304.25 in 2023.       Exhibit 4 (under seal).       In addition to DL paying
15   his personal expenses, Smirnov also pays various personal expenses out
16   of this account including gasoline, credit card payments, restaurants,
17   duty free shopping and others.        Id.
18         The    government   assumes    that   Smirnov    did    not    disclose    these

19   substantial assets to the Court             when he submitted his financial

20   affidavit.      That is because while the government has not seen the

21   affidavit, the Court appointed the Office of                  the Federal Public

22   Defender to represent Smirnov at his initial appearance.                    The court

23   specifically admonished Smirnov that he was submitting his financial

24   affidavit under the penalties of perjury.             If he did not disclose his

25   substantial assets the this is a second example of an instance where

26   Smirnov lied to the Court.

27         In the event that Smirnov did not disclose these assets, the

28   government respectfully requests that the Court release the affidavit

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1    to the government so that the government can consider whether to charge

2    Smirnov with perjury.

3       3. Smirnov can obtain an Israeli passport at any time.
4          Finally, the Court should also consider that Smirnov is a dual
5    national who holds both U.S. citizenship, and a U.S. passport, and
6    Israeli citizenship, and an Israeli passport.            While Smirnov can be
7    ordered to turn both passports in to Pretrial Services and could be
8    prohibited from obtaining a new U.S. passport, he cannot be prohibited
9    from obtaining a new Israeli one.       He can obtain a new Israeli passport
10   in the United States by visiting any one of Israel’s consulates in
11   Washington, DC, New York, Houston, Miami or Los Angeles.           See Exhibits
12   8 and 9.
13                                      V.   Conclusion
14         Based on the above, this Court should conclude that no condition
15   or combination of conditions will reasonably assure the appearance of
16   the Smirnov as required and order him detained pending trial.
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